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                                      16
                                      17                         UNITED STATES DISTRICT COURT
                                      18                        CENTRAL DISTRICT OF CALIFORNIA
                                      19
                                      20 GIGANEWS, INC., a Texas corporation; Case No.: 2:17-cv-05075-AB (JPR)
                                         and LIVEWIRE SERVICES, INC., a
                                      21 Nevada corporation,                  INDEX CITATIONS TO
                                                                              DEPOSITION DESIGNATIONS,
                                      22               Plaintiffs,            OBJECTIONS, AND COUNTER-
                                                                              DESIGNATIONS FOR USE AT
                                      23       v.                             TRIAL
                                      24 PERFECT 10, INC., a California            Pretrial Conf.:March 1, 2019
                                         corporation; NORMAN ZADA, an              Time:          11:00 a.m.
                                      25 individual; and DOES 1-50, inclusive,     Courtroom: 7B
                                                                                   Trial Date: March 26, 2019
                                      26                   Defendants.             Judge:         Hon. André Birotte, Jr.
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                                        1         Plaintiffs Giganews, Inc. and Livewire Services, Inc. hereby provide the
                                        2 following index of citations to deposition testimony they intend to present as
                                        3 evidence at trial under Federal Rule of Civil Procedure 26(a)(3)(A). 1
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                                      26  Defendants objected to witnesses in their entirety but did not provide objections or
                                         counter-designations to specific testimony. The mark [*] indicates a witness to
                                      27 whom Defendants have objected.
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                                       25             120:21-121:21
                                       26
                                                      122:15-122:17
                                       27
                                                      124:15-125:7
                                       28
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                                        1         Defendants Perfect 10, Inc. and Norman Zada have designated the following
                                        2 as deposition testimony they intend to present at trial. Plaintiffs object and provide
                                        3 counter-designations as follows:
                                        4
                                        5                             Yokubaitis, Jonah (4/30/2014)
                                        6
                                               Defendants’             Plaintiffs’ Objection             Plaintiffs’ Counter-
                                        7
                                               Designation                                                   Designation
                                        8
                                        9        5:10-12                          none                            none
                                       10
                                                9:9-10:14        Irrelevant; 403; (9:19-10:14)                    none
                                       11
                                                                 vague
                                       12
F ENWICK & W ES T LLP
                        LAW




                                       13       13:21-14:2       irrelevant; 403                              12:22-13:20
                         AT
                        ATTO RNEY S




                                       14
                                       15      15:15-16:12       irrelevant; 403                                16:17-21

                                       16
                                                16:22-18:6       irrelevant; 403; lacks                         16:17-21
                                       17                        foundation/witness lacks personal
                                       18                        knowledge

                                       19
                                                20:4-21:5        irrelevant; lacks                        21:9-21:10; 21:12
                                       20                        foundation/witness lacks personal
                                       21                        knowledge

                                       22
                                               21:17-23:16       irrelevant; 403                                  none
                                       23
                                       24      23:22-24:14       irrelevant; 403                              24:15-24:21
                                       25
                                       26       26:9-27:15       irrelevant; 403                              25:16-25:20
                                       27
                                                 28:17-23        irrelevant; 403; incomplete                    28:14-16
                                       28
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                                        1
                                                                        Yokubaitis, Jonah (4/30/2014)
                                        2
                                        3
                                               Defendants’              Plaintiffs’ Objection            Plaintiffs’ Counter-
                                        4      Designation                                                   Designation
                                        5
                                        6      30:21-33:18       irrelevant; 403; (32:24-33:4)          30:13-30:13; 30:15-
                                                                 compound                                30:15; 30:16-30:17;
                                        7                                                             30:20-30:20; 33:19-33:22
                                        8
                                        9       33:23-34:5       irrelevant; 403                        34:6-34:14; 34:25-35:3;
                                                                                                              43:11-44:4
                                       10
                                       11        35:4-11         none                                      35:12-15; 37:2-8
                                       12
F ENWICK & W ES T LLP




                                               40:5-12-42:9      irrelevant; 403; (42:4-9) vague                  none
                        LAW




                                       13
                         AT
                        ATTO RNEY S




                                       14
                                                42:21-24         irrelevant; 403; lacks                           none
                                       15                        foundation/assumes facts not in
                                       16                        evidence
                                       17
                                                47:21-24         irrelevant; 403; vague and                       none
                                       18                        ambiguous
                                       19
                                       20       50:8-51:9        irrelevant; 403; (50:8-12) vague;                none
                                                                 (50:25-51:9) vague
                                       21
                                       22       54:3-57:3        irrelevant; 403; vague                    57:4-5; 57:10-25
                                       23
                                       24      59:12-60:22       irrelevant; vague                                none
                                       25
                                                65:15-19         irrelevant; 403                                  none
                                       26
                                       27
                                                67:22-68:1       irrelevant; 403                                  none
                                       28
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                                        1
                                                                      Yokubaitis, Jonah (4/30/2014)
                                        2
                                        3
                                               Defendants’             Plaintiffs’ Objection             Plaintiffs’ Counter-
                                        4      Designation                                                   Designation
                                        5
                                        6       71:19-72:2       irrelevant; 403                                  none

                                        7
                                                76:20-21         incomplete; irrelevant; 403           75:15-76:19; 76:22-77:3
                                        8
                                        9      81:25-85:17       irrelevant; 403; (81:25-82:4)                    none
                                       10                        vague; (82:5-9) vague; (82:10-17)
                                                                 vague; (82:18-83:6; vague; asked
                                       11                        and answered; (83:7-16) vague;
                                       12                        asked and answered; (83:25-84:5)
F ENWICK & W ES T LLP




                                                                 vague; (84:6-85:6) vague
                        LAW




                                       13
                         AT
                        ATTO RNEY S




                                       14       91:17-22         irrelevant; 403                                  none
                                       15
                                       16       92:15-93:1       irrelevant; 403; vague;                          none
                                                                 argumentative; subject to MIL on
                                       17                        (c) allegations
                                       18
                                       19         96:6-8         irrelevant; 403; subject to MILs      93:21-23; 94:1-6; 94:9-
                                                                 on (c) allegations and (c)s not       17; 94:20-95:2; 95:5-15
                                       20                        owned by P10; lacks foundation;
                                       21                        vague; argumentative; incomplete
                                                                 designation
                                       22
                                       23       119:3-18         irrelevant; 403; subject to MILs                 none
                                       24                        on (c) allegations and (c)s not
                                                                 owned by P10; lacks foundation;
                                       25                        witness lacks personal
                                       26                        knowledge; vague; argumentative
                                       27
                                       28
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                                        1
                                                                      Yokubaitis, Jonah (4/30/2014)
                                        2
                                        3
                                               Defendants’             Plaintiffs’ Objection              Plaintiffs’ Counter-
                                        4      Designation                                                    Designation
                                        5
                                        6     120:8-121:11       irrelevant; 403; subject to MILs                  none
                                                                 on (c) allegations and (c)s not
                                        7                        owned by P10; lacks foundation;
                                        8                        witness lacks personal
                                                                 knowledge; vague; argumentative
                                        9
                                       10       130:16-21        irrelevant; 403; subject to MIL on               130:15
                                       11                        (c) allegations; lacks foundation;
                                                                 witness lacks personal
                                       12                        knowledge; vague; argumentative
F ENWICK & W ES T LLP
                        LAW




                                       13
                         AT




                                                143:8-17         irrelevant; 403; subject to MILs               143:18-24
                        ATTO RNEY S




                                       14
                                                                 on (c) allegations and (c)s not
                                       15                        owned by P10; lacks foundation;
                                       16                        witness lacks personal
                                                                 knowledge; vague;
                                       17                        argumentative; assumes facts not
                                       18                        in evidence

                                       19
                                              144:5-145:20       irrelevant; 403; subject to MILs                  none
                                       20                        on (c) allegations and (c)s not
                                       21                        owned by P10; lacks foundation;
                                                                 witness lacks personal
                                       22                        knowledge; vague; argumentative
                                       23
                                       24       146:16-23        irrelevant; 403; subject to MILs                  none
                                                                 on (c) allegations and (c)s not
                                       25                        owned by P10; lacks foundation;
                                       26                        witness lacks personal
                                                                 knowledge; vague
                                       27
                                       28
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                                        1
                                                                      Yokubaitis, Jonah (4/30/2014)
                                        2
                                        3
                                               Defendants’             Plaintiffs’ Objection              Plaintiffs’ Counter-
                                        4      Designation                                                    Designation
                                        5
                                        6       189:6-11         irrelevant; 403; subject to MILs                  none
                                                                 on (c) allegations and (c)s not
                                        7                        owned by P10; lacks foundation;
                                        8                        witness lacks personal
                                                                 knowledge; vague; argumentative
                                        9
                                       10     189:22-191:7       irrelevant; 403; subject to MILs                  none
                                       11                        on (c) allegations and (c)s not
                                                                 owned by P10; lacks foundation;
                                       12                        witness lacks personal
F ENWICK & W ES T LLP




                                                                 knowledge; vague;
                        LAW




                                       13
                                                                 argumentative; assumes facts not
                         AT
                        ATTO RNEY S




                                       14                        in evidence
                                       15
                                       16     191:24-192:8       irrelevant; 403; subject to MILs                  none
                                                                 on (c) allegations and (c)s not
                                       17                        owned by P10; lacks foundation;
                                       18                        witness lacks personal
                                                                 knowledge; vague; argumentative
                                       19
                                       20     200:18-203:2       irrelevant; 403; subject to MILs                  none
                                       21                        on (c) allegations and (c)s not
                                                                 owned by P10; lacks foundation;
                                       22                        witness lacks personal
                                       23                        knowledge; vague;
                                                                 argumentative; incomplete
                                       24                        hypothetical; assumes facts not in
                                       25                        evidence
                                       26
                                              216:21-217:2       irrelevant; 403; subject to MILs                  none
                                       27                        on (c) allegations; vague
                                       28
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                                        1
                                                                      Yokubaitis, Jonah (4/30/2014)
                                        2
                                        3
                                               Defendants’             Plaintiffs’ Objection            Plaintiffs’ Counter-
                                        4      Designation                                                  Designation
                                        5
                                        6      218:3-219:4       irrelevant; 403; subject to MILs                none
                                                                 on (c) allegations and (c)s not
                                        7                        owned by P10; lacks foundation;
                                        8                        witness lacks personal
                                                                 knowledge; vague; argumentative
                                        9
                                       10     230:7-231:10       irrelevant; 403; subject to MILs                none
                                       11                        on (c) allegations and (c)s not
                                                                 owned by P10; lacks foundation;
                                       12                        witness lacks personal
F ENWICK & W ES T LLP




                                                                 knowledge; vague; argumentative
                        LAW




                                       13
                         AT
                        ATTO RNEY S




                                       14
                                                234:14-22        irrelevant; 403; subject to MILs                none
                                       15                        on (c) allegations and (c)s not
                                       16                        owned by P10; lacks foundation;
                                                                 witness lacks personal
                                       17                        knowledge; vague;
                                       18                        argumentative, calls for expert
                                                                 opinion/ legal conclusion
                                       19
                                       20       235:7-21         irrelevant; 403; subject to MILs                none
                                       21                        on (c) allegations and (c)s not
                                                                 owned by P10; lacks foundation;
                                       22                        witness lacks personal
                                       23                        knowledge; vague;
                                                                 argumentative, calls for expert
                                       24                        opinion/ legal conclusion
                                       25
                                       26
                                       27
                                       28
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                                        1
                                                                       Yokubaitis, Ron (1/23/2014)
                                        2
                                        3
                                               Defendants’             Plaintiffs’ Objection              Plaintiffs’ Counter-
                                        4      Designation                                                    Designation
                                        5
                                        6         6:8-11                          none                             none

                                        7
                                               10:16-11:19       irrelevant; 403; includes attorney                none
                                        8                        colloquy 10:24-11:4
                                        9
                                       10        12:1-13         irrelevant; 403; (12:1-6) vague                   none

                                       11
                                                31:2-35:12       irrelevant; 403; subject to MILs                  none
                                       12                        on (c) allegations and (c)s not
F ENWICK & W ES T LLP




                                                                 owned by Perfect 10; lacks
                        LAW




                                       13
                                                                 foundation; witness lacks
                         AT
                        ATTO RNEY S




                                       14                        personal knowledge; vague;
                                       15                        argumentative; assumes facts not
                                                                 in evidence
                                       16
                                       17      37:24-40:25       irrelevant; 403; subject to MILs                  none
                                       18                        on (c) allegations and (c)s not
                                                                 owned by Perfect 10; lacks
                                       19                        foundation; witness lacks
                                       20                        personal knowledge; vague;
                                                                 argumentative; assumes facts not
                                       21                        in evidence
                                       22
                                       23      41:10-41:23       irrelevant; 403; subject to MILs           41:24-25; 42:3-9
                                                                 on (c) allegations and (c)s not
                                       24                        owned by P10; lacks foundation;
                                       25                        incomplete hypothetical
                                       26
                                       27
                                       28
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                                        1
                                                                       Yokubaitis, Ron (1/23/2014)
                                        2
                                        3
                                               Defendants’             Plaintiffs’ Objection            Plaintiffs’ Counter-
                                        4      Designation                                                  Designation
                                        5
                                        6       42:10-14         irrelevant; 403; subject to MILs               42:3-9
                                                                 on (c) allegations and (c)s not
                                        7                        owned by P10; lacks foundation
                                        8
                                        9         46:2-7         irrelevant; 403; subject to MILs     44:6-45:10; 45:13-46:1
                                                                 on (c) allegations and (c)s not
                                       10                        owned by P10; lacks foundation;
                                       11                        asked and answered

                                       12
F ENWICK & W ES T LLP




                                                58:15-20         irrelevant; 403; subject to MILs    58:21-23; 59:1-14; 59:17-
                        LAW




                                       13                        on (c) allegations and (c)s not      60:2; 60:5-7; 60:10-16
                         AT




                                                                 owned by P10; lacks foundation;
                        ATTO RNEY S




                                       14
                                                                 vague
                                       15
                                       16       65:18-22         irrelevant; 403; subject to MILs         65:23-24; 66:2-7
                                       17                        on (c) allegations and (c)s not
                                                                 owned by P10; lacks foundation;
                                       18                        vague
                                       19
                                       20        79:1-19         irrelevant; 403; subject to MILs                 none
                                                                 on (c) allegations; lacks
                                       21                        foundation; witness lacks
                                       22                        personal knowledge; vague;
                                                                 argumentative; assumes facts not
                                       23                        in evidence; calls for a legal
                                       24                        conclusion
                                       25
                                       26
                                       27
                                       28
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                                        1
                                                                       Yokubaitis, Ron (1/23/2014)
                                        2
                                        3
                                               Defendants’             Plaintiffs’ Objection              Plaintiffs’ Counter-
                                        4      Designation                                                    Designation
                                        5
                                                95:1-96:22       irrelevant; 403; subject to MILs                   none
                                        6
                                                                 on (c) allegations and (c)s not
                                        7                        owned by Perfect 10; lacks
                                        8                        foundation; witness lacks
                                                                 personal knowledge; vague;
                                        9                        argumentative; assumes facts not
                                       10                        in evidence; (95:17-25)
                                                                 incomplete hypothetical; calls for
                                       11                        legal conclusion; (96:1-22)
                                       12                        incomplete hypothetical; calls for
                                                                 legal conclusion
F ENWICK & W ES T LLP
                        LAW




                                       13
                         AT
                        ATTO RNEY S




                                       14     101:13-102:6       irrelevant; 403                                    none
                                       15
                                       16
                                       17
                                       18
                                       19
                                       20
                                       21
                                       22
                                       23
                                       24
                                       25
                                       26
                                       27
                                       28
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                                        1
                                                                       Yokubaitis, Ron (1/23/2014)
                                        2
                                        3
                                               Defendants’             Plaintiffs’ Objection              Plaintiffs’ Counter-
                                        4      Designation                                                    Designation
                                        5
                                              102:17-104:23      irrelevant; 403; subject to MILs                   none
                                        6
                                                                 on (c) allegations and (c)s not
                                        7                        owned by Perfect 10; lacks
                                        8                        foundation; witness lacks
                                                                 personal knowledge; vague;
                                        9                        argumentative; assumes facts not
                                       10                        in evidence; (102:17-20) asked
                                                                 and answered; (103:2-104:3)
                                       11                        vague; lacks foundation;
                                       12                        argumentative; compound;
                                                                 assumes facts not in evidence;
F ENWICK & W ES T LLP
                        LAW




                                       13                        (103:2-104:20 irrelevant; 403;
                         AT




                                                                 subject to MILs on (c) allegations
                        ATTO RNEY S




                                       14
                                                                 and (c)s not owned by Perfect 10;
                                       15                        lacks foundation; witness lacks
                                       16                        personal knowledge; vague;
                                                                 argumentative; assumes facts not
                                       17                        in evidence; (104:21-23)
                                       18                        irrelevant; 403

                                       19
                                              108:2-109:10       irrelevant; 403; subject to MILs                   none
                                       20                        on (c) allegations and (c)s not
                                       21                        owned by P10; lacks foundation;
                                                                 witness lacks personal
                                       22                        knowledge; vague; assumes facts
                                       23                        not in evidence
                                       24
                                                110:11-25        irrelevant; 403; subject to MILs                   none
                                       25                        on (c) allegations and (c)s not
                                       26                        owned by P10; lacks foundation;
                                                                 vague
                                       27
                                       28
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                                        1
                                                                       Yokubaitis, Ron (1/23/2014)
                                        2
                                        3
                                               Defendants’             Plaintiffs’ Objection            Plaintiffs’ Counter-
                                        4      Designation                                                  Designation
                                        5
                                        6     111:24-112:11      irrelevant; 403; subject to MILs             112:12-14
                                                                 on (c) allegations and (c)s not
                                        7                        owned by P10; lacks foundation;
                                        8                        witness lacks personal
                                                                 knowledge; vague; calls for
                                        9                        speculation
                                       10
                                       11       122:6-13         irrelevant; 403; subject to MILs                none
                                                                 on (c) allegations and (c)s not
                                       12                        owned by Perfect 10; lacks
F ENWICK & W ES T LLP




                                                                 foundation; witness lacks
                        LAW




                                       13
                                                                 personal knowledge; vague;
                         AT
                        ATTO RNEY S




                                       14                        argumentative; assumes facts not
                                       15                        in evidence

                                       16
                                              123:22-124:15      irrelevant; 403; subject to MILs                 none
                                       17                        on (c) allegations and (c)s not
                                       18                        owned by Perfect 10; lacks
                                                                 foundation; witness lacks
                                       19                        personal knowledge; vague;
                                       20                        argumentative; assumes facts not
                                                                 in evidence
                                       21
                                       22     124:25-125:6       irrelevant; 403; subject to MILs                 none
                                       23                        on (c) allegations and (c)s not
                                                                 owned by Perfect 10; lacks
                                       24                        foundation; witness lacks
                                       25                        personal knowledge; vague;
                                                                 argumentative; assumes facts not
                                       26                        in evidence
                                       27
                                       28
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                                        1
                                                                       Yokubaitis, Ron (1/23/2014)
                                        2
                                        3
                                               Defendants’             Plaintiffs’ Objection            Plaintiffs’ Counter-
                                        4      Designation                                                  Designation
                                        5
                                                127:1-21         irrelevant; 403; subject to MILs                 none
                                        6
                                                                 on (c) allegations and (c)s not
                                        7                        owned by Perfect 10; lacks
                                        8                        foundation; witness lacks
                                                                 personal knowledge; vague;
                                        9                        argumentative; assumes facts not
                                       10                        in evidence

                                       11
                                              127:24-128:17      irrelevant; 403; subject to MILs                 none
                                       12                        on (c) allegations and (c)s not
F ENWICK & W ES T LLP




                                                                 owned by P10; lacks foundation;
                        LAW




                                       13
                                                                 witness lacks personal
                         AT
                        ATTO RNEY S




                                       14                        knowledge; vague; argumentative
                                       15
                                               135:9-136:2       irrelevant; 403; subject to MILs                 none
                                       16
                                                                 on (c) allegations and (c)s not
                                       17                        owned by P10; lacks foundation’
                                       18                        (135:13-21) vague

                                       19
                                               176:5-177:1       irrelevant; 403; subject to MILs              177:2-9
                                       20                        on (c) allegations and (c)s not
                                       21                        owned by P10; lacks foundation /
                                                                 assumes facts not in evidence;
                                       22                        (176:5-12) argumentative; calls
                                       23                        for a legal conclusion; vague;
                                                                 (176:13-177:1) compound;
                                       24                        vague; incomplete designation
                                       25
                                       26
                                       27
                                       28
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                                        1
                                                                       Yokubaitis, Ron (1/23/2014)
                                        2
                                        3
                                               Defendants’             Plaintiffs’ Objection            Plaintiffs’ Counter-
                                        4      Designation                                                  Designation
                                        5
                                        6       183:8-14         irrelevant; 403; subject to MILs             183:15-21
                                                                 on (c) allegations and (c)s not
                                        7                        owned by P10; lacks foundation;
                                        8                        vague; argumentative

                                        9
                                              191:25-192:5       irrelevant; 403; subject to MILs              192:6-12
                                       10                        on (c) allegations and (c)s not
                                       11                        owned by P10; lacks foundation;
                                                                 witness lacks personal knowledge
                                       12
F ENWICK & W ES T LLP
                        LAW




                                       13       194:9-12         irrelevant; 403; subject to MILs                none
                         AT




                                                                 on (c) allegations and (c)s not
                        ATTO RNEY S




                                       14
                                                                 owned by P10; lacks foundation;
                                       15                        argumentative
                                       16
                                       17     194:22-195:9       irrelevant; 403; subject to MILs                none
                                                                 on (c) allegations and (c)s not
                                       18                        owned by P10; lacks foundation;
                                       19                        vague; argumentative
                                       20
                                                195:17-23        irrelevant; 403; subject to MILs     195;24-196:3; 196:8-12
                                       21                        on (c) allegations and (c)s not
                                       22                        owned by P10; lacks foundation;
                                                                 vague
                                       23
                                       24       205:13-25        irrelevant; 403; subject to MILs                none
                                       25                        on (c) allegations and (c)s not
                                                                 owned by P10; lacks foundation;
                                       26                        vague; argumentative
                                       27
                                       28
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                                        1
                                                                       Yokubaitis, Ron (1/23/2014)
                                        2
                                        3
                                               Defendants’             Plaintiffs’ Objection            Plaintiffs’ Counter-
                                        4      Designation                                                  Designation
                                        5
                                        6       206:1-11         irrelevant; 403; subject to MILs      206:12-13; 206:14-15;
                                                                 on (c) allegations and (c)s not            206:18-20
                                        7                        owned by P10; lacks foundation;
                                        8                        vague; argumentative; incomplete
                                                                 designation; calls for a legal
                                        9                        conclusion; asked and answered
                                       10
                                       11       207:15-22        irrelevant; 403; subject to MILs                none
                                                                 on (c) allegations and (c)s not
                                       12                        owned by P10; lacks foundation;
F ENWICK & W ES T LLP




                                                                 vague; argumentative
                        LAW




                                       13
                         AT
                        ATTO RNEY S




                                       14
                                       15
                                       16
                                       17
                                       18
                                       19
                                       20
                                       21
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                                        1
                                                                        Menking, Shane (3/22/2014)
                                        2
                                        3
                                               Defendants’              Plaintiffs’ Objection            Plaintiffs’ Counter-
                                        4      Designation                                                   Designation
                                        5
                                        6        5:10-13         none                                              none

                                        7
                                                 9:17-19         none                                              none
                                        8
                                        9       22:7-24:1       irrelevant; 403; lacks foundation;                 none
                                       10                       witness lacks personal knowledge;
                                                                designation includes attorney
                                       11                       colloquy; (23:14-19) vague
                                       12
F ENWICK & W ES T LLP




                                                26:3-27:24      irrelevant; 403; (27:15-27:24)                     none
                        LAW




                                       13
                                                                vague
                         AT
                        ATTO RNEY S




                                       14
                                       15        30:6-10        irrelevant; 403                                    none
                                       16
                                       17        34:6-35:2      irrelevant; 403; lacks foundation;                 none
                                                                vague
                                       18
                                       19        35:10-16       irrelevant; 403; vague                             none
                                       20
                                       21         36:1-5        irrelevant; 403                                    none
                                       22
                                                38:7-39:12      irrelevant; 403; (38:7-25) vague;                  none
                                       23                       (39:7-12) vague
                                       24
                                       25       39:18-41:2      irrelevant; 403; vague; (40:10-18)                 none
                                                                lacks foundation; assumes facts not
                                       26
                                                                in evidence
                                       27
                                       28
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                                        1
                                                                       Menking, Shane (3/22/2014)
                                        2
                                        3
                                               Defendants’             Plaintiffs’ Objection             Plaintiffs’ Counter-
                                        4      Designation                                                   Designation
                                        5
                                        6      42:13-43:15      irrelevant; 403                                    none

                                        7
                                                45:10-47:2      irrelevant; 403; vague                             none
                                        8
                                        9      61:21-62:10      irrelevant; 403; subject to MILs on                none
                                       10                       (c) allegations and (c)s not owned
                                                                by P10; lacks foundation/assumes
                                       11                       facts not in evidence; vague;
                                       12                       argumentative; calls for legal
F ENWICK & W ES T LLP




                                                                conclusion
                        LAW




                                       13
                         AT
                        ATTO RNEY S




                                       14       63:20-64:9      irrelevant; 403; subject to MILs on                none
                                       15                       (c) allegations and (c)s not owned
                                                                by Perfect 10; lacks foundation;
                                       16                       witness lacks personal knowledge;
                                       17                       vague; argumentative; assumes
                                                                facts not in evidence
                                       18
                                       19      64:22-66:12      irrelevant; 403; subject to MILs on                none
                                       20                       (c) allegations and (c)s not owned
                                                                by Perfect 10; lacks foundation;
                                       21                       witness lacks personal knowledge;
                                       22                       vague; assumes facts not in
                                                                evidence (65:24-66:12)
                                       23                       argumentative
                                       24
                                       25
                                       26
                                       27
                                       28
                                            INDEX TO DEPO. DESIGNATIONS, OBJS.,
                                            & COUNTER-DESIGNATIONS FOR TRIAL        43                CASE NO.: 2:17-cv-05075-AB (JPR)
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                                        1
                                                                       Menking, Shane (3/22/2014)
                                        2
                                        3
                                               Defendants’             Plaintiffs’ Objection             Plaintiffs’ Counter-
                                        4      Designation                                                   Designation
                                        5
                                        6        67:7-17        irrelevant; 403; subject to MILs on                none
                                                                (c) allegations and (c)s not owned
                                        7                       by Perfect 10; lacks foundation;
                                        8                       witness lacks personal knowledge;
                                                                vague; argumentative; assumes
                                        9                       facts not in evidence
                                       10
                                       11        70:9-71:3      irrelevant; 403; subject to MILs on                none
                                                                (c) allegations and (c)s not owned
                                       12                       by Perfect 10; lacks foundation;
F ENWICK & W ES T LLP




                                                                witness lacks personal knowledge;
                        LAW




                                       13
                                                                vague; argumentative; assumes
                         AT
                        ATTO RNEY S




                                       14                       facts not in evidence
                                       15
                                       16       73:15-74:5      irrelevant; 403; subject to MILs on                none
                                                                (c) allegations and (c)s not owned
                                       17                       by Perfect 10; lacks foundation;
                                       18                       witness lacks personal knowledge;
                                                                vague; argumentative; assumes
                                       19                       facts not in evidence
                                       20
                                       21      77:25-78:10      irrelevant; 403; subject to MILs on                none
                                                                (c) allegations and (c)s not owned
                                       22                       by Perfect 10; lacks foundation;
                                       23                       witness lacks personal knowledge;
                                                                vague; argumentative; assumes
                                       24                       facts not in evidence
                                       25
                                       26
                                       27
                                       28
                                            INDEX TO DEPO. DESIGNATIONS, OBJS.,
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                                        1
                                                                       Menking, Shane (3/22/2014)
                                        2
                                        3
                                               Defendants’             Plaintiffs’ Objection             Plaintiffs’ Counter-
                                        4      Designation                                                   Designation
                                        5
                                        6        81:5-19        irrelevant; 403; subject to MILs on            81:22-82:1
                                                                (c) allegations and (c)s not owned
                                        7                       by Perfect 10; lacks foundation;
                                        8                       witness lacks personal knowledge;
                                                                vague; argumentative; assumes
                                        9                       facts not in evidence
                                       10
                                       11        82:3-19        irrelevant; 403; subject to MILs on                none
                                                                (c) allegations and (c)s not owned
                                       12                       by Perfect 10; lacks foundation;
F ENWICK & W ES T LLP




                                                                witness lacks personal knowledge;
                        LAW




                                       13
                                                                vague; argumentative; assumes
                         AT
                        ATTO RNEY S




                                       14                       facts not in evidence
                                       15
                                       16        88:11-16       irrelevant; 403; vague; witness                    none
                                                                lacks personal knowledge
                                       17
                                       18        96:3-14        irrelevant; 403; subject to MILs on               96:15
                                       19                       (c) allegations and (c)s not owned
                                                                by P10; lacks foundation; witness
                                       20                       lacks personal knowledge; vague
                                       21
                                       22        101:1-4        irrelevant; 403                                    none
                                       23
                                               116:23-117:4     irrelevant; 403                                    none
                                       24
                                       25       117:20-24       irrelevant; 403                                    none
                                       26
                                       27
                                       28
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                                        1
                                                                       Menking, Shane (3/22/2014)
                                        2
                                        3
                                               Defendants’             Plaintiffs’ Objection                Plaintiffs’ Counter-
                                        4      Designation                                                      Designation
                                        5
                                        6      120:7-121:11     irrelevant; 403; subject to MILs on                   none
                                                                (c) allegations and (c)s not owned
                                        7                       by Perfect 10; lacks foundation;
                                        8                       witness lacks personal knowledge;
                                                                vague; argumentative; assumes
                                        9                       facts not in evidence
                                       10
                                       11      121:20-122:2     irrelevant; 403; subject to MILs on                   none
                                                                (c) allegations and (c)s not owned
                                       12                       by P10; lacks foundation; witness
F ENWICK & W ES T LLP




                                                                lacks personal knowledge; vague;
                        LAW




                                       13
                                                                argumentative; calls for
                         AT
                        ATTO RNEY S




                                       14                       speculation
                                       15
                                       16        130:4-11       irrelevant; 403; subject to MILs on                   none
                                                                (c) allegations and (c)s not owned
                                       17                       by Perfect 10; lacks foundation;
                                       18                       witness lacks personal knowledge;
                                                                vague; argumentative; assumes
                                       19                       facts not in evidence; calls for legal
                                       20                       conclusion
                                       21
                                              146:12-147:21     irrelevant; 403; vague; (147:3-8)                     none
                                       22                       calls for speculation
                                       23
                                       24
                                       25
                                       26
                                       27
                                       28
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                                        1
                                                                     Rosenblatt, William (8/22/2014)
                                        2
                                        3
                                                 Plaintiffs’             Defendants’ Objection           Defendants’ Counter-
                                        4       Designation                                                  Designation
                                        5
                                        6          6:8-13         none                                      6:14-15; 6:17-24
                                        7
                                                 18:15-19:7       irrelevant; vague; lacks foundation;             none
                                        8
                                                                  calls for speculation
                                        9
                                       10        21:11-22:9       irrelevant; 403; subject to MILs on              none
                                                                  (c) allegations and (c)s not owned
                                       11
                                                                  by P10; lacks foundation; witness
                                       12                         lacks personal knowledge; vague;
F ENWICK & W ES T LLP




                                                                  argumentative’ (21:23-22:9)
                        LAW




                                       13
                                                                  assumes facts not in evidence;
                         AT
                        ATTO RNEY S




                                       14                         incomplete hypothetical; calls for
                                       15                         speculation

                                       16
                                                 24:19-26:6       irrelevant; 403; subject to MILs on              none
                                       17                         (c) allegations and (c)s not owned
                                       18                         by P10; lacks foundation / assumes
                                                                  facts not in evidence; witness lacks
                                       19                         personal knowledge; vague; calls
                                       20                         for speculation; incomplete
                                                                  hypothetical
                                       21
                                       22        27:15-28:9       irrelevant; 403; subject to MILs on              none
                                       23                         (c) allegations and (c)s not owned
                                                                  by P10; lacks foundation / assumes
                                       24                         facts not in evidence; witness lacks
                                       25                         personal knowledge; vague; calls
                                                                  for speculation; incomplete
                                       26                         hypothetical; calls for legal
                                       27                         conclusion; argumentative

                                       28
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                                        1
                                                                     Rosenblatt, William (8/22/2014)
                                        2
                                        3
                                                 Plaintiffs’            Defendants’ Objection            Defendants’ Counter-
                                        4       Designation                                                  Designation
                                        5
                                        6        29:23-30:3       incomplete designation (no                     29:17-18
                                                                  question designated); irrelevant;
                                        7
                                                                  403; subject to MILs on (c)
                                        8                         allegations and (c)s not owned by
                                                                  P10; lacks foundation / assumes
                                        9
                                                                  facts not in evidence; witness lacks
                                       10                         personal knowledge; vague; calls
                                                                  for speculation; incomplete
                                       11
                                                                  hypothetical; calls for a legal
                                       12                         conclusion
F ENWICK & W ES T LLP
                        LAW




                                       13
                         AT




                                                  32:16-25        incomplete designation (no                       none
                        ATTO RNEY S




                                       14
                                                                  question designated); irrelevant;
                                       15                         403; subject to MILs on (c)
                                       16                         allegations and (c)s not owned by
                                                                  P10; lacks foundation / assumes
                                       17                         facts not in evidence; witness lacks
                                       18                         personal knowledge; vague; calls
                                                                  for speculation; calls for a legal
                                       19                         conclusion
                                       20
                                       21         41:10-14        irrelevant; 403; subject to MILs on              none
                                                                  (c) allegations and (c)s not owned
                                       22                         by P10; lacks foundation / assumes
                                       23                         facts not in evidence; witness lacks
                                                                  personal knowledge; vague
                                       24
                                       25       44:24-45:13       irrelevant; 403; subject to MILs on              none
                                       26                         (c) allegations and (c)s not owned
                                                                  by P10; vague; calls for a legal
                                       27                         conclusion
                                       28
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                                        1
                                                                     Rosenblatt, William (8/22/2014)
                                        2
                                        3
                                                 Plaintiffs’            Defendants’ Objection            Defendants’ Counter-
                                        4       Designation                                                  Designation
                                        5
                                        6        50:19-51:7       irrelevant; 403; subject to MILs on              none
                                                                  (c) allegations and (c)s not owned
                                        7
                                                                  by P10; lacks foundation / assumes
                                        8                         facts not in evidence; vague
                                        9
                                                 64:17-65:4       irrelevant; 403; subject to MILs on              none
                                       10
                                                                  (c) allegations and (c)s not owned
                                       11                         by P10; lacks foundation / assumes
                                                                  facts not in evidence; vague
                                       12
F ENWICK & W ES T LLP
                        LAW




                                       13
                                                  74:11-17        irrelevant; 403; subject to MILs on              none
                         AT
                        ATTO RNEY S




                                       14                         (c) allegations and (c)s not owned
                                       15                         by P10; lacks foundation / assumes
                                                                  facts not in evidence; witness lacks
                                       16                         personal knowledge; vague;
                                       17                         incomplete hypothetical

                                       18
                                                  76:19-24        irrelevant; 403; subject to MILs on              none
                                       19                         (c) allegations and (c)s not owned
                                       20                         by P10; lacks foundation / assumes
                                                                  facts not in evidence; witness lacks
                                       21                         personal knowledge; vague; calls
                                       22                         for speculation

                                       23
                                                  77:12-21        irrelevant; 403; subject to MILs on              none
                                       24                         (c) allegations and (c)s not owned
                                       25                         by P10; lacks foundation / assumes
                                                                  facts not in evidence; witness lacks
                                       26                         personal knowledge; vague; calls
                                       27                         for speculation; argumentative

                                       28
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                                        1
                                                                     Rosenblatt, William (8/22/2014)
                                        2
                                        3
                                                 Plaintiffs’            Defendants’ Objection           Defendants’ Counter-
                                        4       Designation                                                 Designation
                                        5
                                        6      109:14-125:21      irrelevant; 403; subject to MILs on             none
                                                                  (c) allegations; designation
                                        7
                                                                  includes objections; (110:19-11:7)
                                        8                         vague; lacks foundation /assumes
                                                                  facts not in evidence; (11:8-15)
                                        9
                                                                  vague; lacks foundation /assumes
                                       10                         facts not in evidence; (111:20-
                                                                  112:18) witness lacks personal
                                       11
                                                                  knowledge; lacks
                                       12                         foundation/assumes facts not in
F ENWICK & W ES T LLP




                                                                  evidence; calls for legal
                        LAW




                                       13
                                                                  conclusion; vague; (113:3-115:8)
                         AT
                        ATTO RNEY S




                                       14                         lacks foundation; vague; witness
                                                                  lacks personal knowledge; calls for
                                       15
                                                                  lay opinion and legal conclusion;
                                       16                         includes attorney colloquy; (115:9-
                                                                  19) witness lacks personal
                                       17
                                                                  knowledge; vague; argumentative
                                       18
                                       19      115:23-116:23      irrelevant; 403; subject to MILs on             none
                                       20                         (c) allegations; designation
                                                                  includes objections; duplicative
                                       21                         designation; lacks
                                       22                         foundation/assumes facts not in
                                                                  evidence; witness lacks personal
                                       23                         knowledge; calls for a legal
                                       24                         conclusion; calls for lay opinion;
                                                                  argumentative; vague; (117:13-
                                       25                         118:5) lacks foundation /assumes
                                       26                         facts not in evidence; incomplete
                                                                  hypothetical; vague; calls for
                                       27                         speculation; (118:6-12) attorney
                                       28                         colloquy; (118:13-20) lacks
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                                        1
                                                                     Rosenblatt, William (8/22/2014)
                                        2
                                        3
                                                 Plaintiffs’            Defendants’ Objection            Defendants’ Counter-
                                        4       Designation                                                  Designation
                                        5
                                                                  foundation /assumes facts not in
                                        6                         evidence; incomplete hypothetical;
                                        7                         vague; calls for speculation;
                                                                  (119:3-10) vague; lacks foundation;
                                        8                         (119:11-121:4) lacks
                                        9                         foundation/assumes facts not in
                                                                  evidence; calls for speculation;
                                       10                         vague; witness lacks personal
                                       11                         knowledge; argumentative; (121:5-
                                                                  13) vague; (122:1-12)
                                       12                         argumentative; lacks foundation;
F ENWICK & W ES T LLP




                                                                  vague; calls for legal conclusion;
                        LAW




                                       13
                         AT




                                                                  witness lacks personal knowledge;
                        ATTO RNEY S




                                       14                         (122:13-123:8) argumentative;
                                       15                         lacks foundation; vague;
                                                                  misleading; witness lacks personal
                                       16                         knowledge; (123:9-17) calls for
                                       17                         speculation; incomplete
                                                                  hypothetical; (123:24-124:24)
                                       18                         Lacks foundation/assumes facts not
                                       19                         in evidence; vague; incomplete
                                                                  hypothetical; (124:25-125:21)
                                       20                         Lacks foundation/assumes facts not
                                       21                         in evidence; vague; incomplete
                                                                  hypothetical; compound; calls for
                                       22                         legal conclusion
                                       23
                                       24       135:12-136:5      irrelevant; 403; subject to MILs on             none
                                                                  (c) allegations; (135: 12-19) vague;
                                       25                         (135:20-136:5) asked and
                                       26                         answered; calls for legal
                                                                  conclusion; lacks foundation /
                                       27                         assumes facts not in evidence
                                       28
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                                        1
                                                                     Rosenblatt, William (8/22/2014)
                                        2
                                        3
                                                 Plaintiffs’            Defendants’ Objection           Defendants’ Counter-
                                        4       Designation                                                 Designation
                                        5
                                        6         148:1-16        irrelevant; 403; subject to MILs on             none
                                                                  (c) allegations; lacks
                                        7
                                                                  foundation/assumes facts not in
                                        8                         evidence; calls for legal
                                                                  conclusion; vague; argumentative
                                        9
                                       10
                                                 161:21-24        irrelevant; 403; subject to MILs on             none
                                       11                         (c) allegations; lacks
                                                                  foundation/assumes facts not in
                                       12
                                                                  evidence; calls for legal
F ENWICK & W ES T LLP
                        LAW




                                       13                         conclusion; incomplete designation
                         AT
                        ATTO RNEY S




                                       14
                                       15      186:20-187:20      irrelevant; 403; subject to MILs on             none
                                                                  (c) allegations and (c)s not owned
                                       16                         by P10; lacks foundation / assumes
                                       17                         facts not in evidence; vague; calls
                                                                  for legal conclusion; (187:7-16)
                                       18                         compound; (187:17-20) incomplete
                                       19                         designation

                                       20
                                                201:6-202:4       irrelevant; 403; subject to MILs on             none
                                       21                         (c) allegations and (c)s not owned
                                       22                         by P10; lacks foundation / assumes
                                                                  facts not in evidence; vague;
                                       23                         compound; argumentative; calls for
                                       24                         legal conclusion; witness lacks
                                                                  personal knowledge
                                       25
                                       26
                                       27
                                       28
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                                        1
                                                                     Rosenblatt, William (8/22/2014)
                                        2
                                        3
                                                 Plaintiffs’            Defendants’ Objection           Defendants’ Counter-
                                        4       Designation                                                 Designation
                                        5
                                        6         203:7-21        irrelevant; 403; subject to MILs on             none
                                                                  (c) allegations and (c)s not owned
                                        7
                                                                  by P10; lacks foundation / assumes
                                        8                         facts not in evidence; vague;
                                                                  compound; argumentative; calls for
                                        9
                                                                  legal conclusion; witness lacks
                                       10                         personal knowledge; calls for lay
                                                                  opinion
                                       11
                                       12
                                                206:14-207:8      irrelevant; 403; subject to MILs on             none
F ENWICK & W ES T LLP
                        LAW




                                       13                         (c) allegations and (c)s not owned
                         AT




                                                                  by P10; lacks foundation / assumes
                        ATTO RNEY S




                                       14
                                                                  facts not in evidence; vague;
                                       15                         argumentative; calls for legal
                                       16                         conclusion; witness lacks personal
                                                                  knowledge; calls for speculation
                                       17
                                       18         210:5-25        irrelevant; 403; subject to MILs on             none
                                       19                         (c) allegations and (c)s not owned
                                                                  by P10; lacks foundation / assumes
                                       20                         facts not in evidence; vague; calls
                                       21                         for legal conclusion

                                       22
                                                 219:15-18        irrelevant; 403; subject to MILs on             none
                                       23                         (c) allegations and (c)s not owned
                                       24                         by P10; lacks foundation / assumes
                                                                  facts not in evidence; vague;
                                       25                         compound; argumentative; calls for
                                       26                         legal conclusion; incomplete
                                                                  designation
                                       27
                                       28
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                                        1
                                                                     Rosenblatt, William (8/22/2014)
                                        2
                                        3
                                                 Plaintiffs’            Defendants’ Objection           Defendants’ Counter-
                                        4       Designation                                                 Designation
                                        5
                                        6       224:2-229:16      irrelevant; 403; subject to MILs on             none
                                                                  (c) allegations and (c)s not owned
                                        7
                                                                  by P10; lacks foundation / assumes
                                        8                         facts not in evidence; vague;
                                                                  compound; argumentative; calls for
                                        9
                                                                  legal conclusion; witness lacks
                                       10                         personal knowledge
                                       11
                                                  230:5-12        irrelevant; 403; subject to MILs on             none
                                       12
                                                                  (c) allegations and (c)s not owned
F ENWICK & W ES T LLP
                        LAW




                                       13                         by P10; lacks foundation; witness
                         AT




                                                                  lacks personal knowledge; vague;
                        ATTO RNEY S




                                       14
                                                                  argumentative, calls for nonexpert
                                       15                         opinion/ legal conclusion
                                       16
                                       17       231:1-233:2       irrelevant; 403; subject to MILs on    230:22-25; 233:3-4;
                                                                  (c) allegations and (c)s not owned          233:8-12
                                       18                         by P10; lacks foundation; vague;
                                       19                         argumentative; includes attorney
                                                                  colloquy
                                       20
                                       21        233:13-18        irrelevant; 403; subject to MILs on          233:19-24
                                       22                         (c) allegations; lacks foundation;
                                                                  vague; argumentative, assumes
                                       23                         facts not in evidence
                                       24
                                       25
                                       26
                                       27
                                       28
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                                        1
                                                                         Molter, Philip (3/20/2014)
                                        2
                                        3
                                                Plaintiffs’             Defendants’ Objection            Defendants’ Counter-
                                        4      Designation                                                   Designation
                                        5
                                        6         5:8-10         none                                               none

                                        7
                                                 7:15-8:3        none                                              8:4-9:8
                                        8
                                        9        13:14-15        irrelevant; 403; incomplete                        none
                                       10                        designation
                                       11
                                                  38:2-3         irrelevant; 403; subject to MILs on                none
                                       12                        (c) allegations and (c)s not owned
F ENWICK & W ES T LLP




                                                                 by P10; lacks foundation
                        LAW




                                       13
                         AT
                        ATTO RNEY S




                                       14
                                                  42:1-8         irrelevant; 403; subject to MILs on                none
                                       15
                                                                 (c) allegations and (c)s not owned
                                       16                        by P10; lacks foundation; calls for
                                                                 lay opinion; vague
                                       17
                                       18
                                                44:12-45:6       irrelevant; 403; subject to MILs on                none
                                       19                        (c) allegations and (c)s not owned
                                       20                        by P10; lacks foundation; calls for
                                                                 legal conclusion; witness lacks
                                       21                        personal knowledge.; vague
                                       22
                                       23         47:2-20        irrelevant; 403; subject to MILs on 47:21-23; 48:1-7; 48:8;
                                                                 (c) allegations and (c)s not owned   48:11-15; 48:18-49:3;
                                       24                        by P10; lacks foundation; vague; 49:6-9; 49:25-50:2; 50:5-
                                       25                        incomplete designation                        13

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                                                                         Molter, Philip (3/20/2014)
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                                                Plaintiffs’           Defendants’ Objection              Defendants’ Counter-
                                        4      Designation                                                   Designation
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                                        6       51:25-52:6       irrelevant; 403; subject to MILs on                none
                                                                 (c) allegations and (c)s not owned
                                        7                        by P10; lacks foundation
                                        8
                                        9       63:22-65:6       irrelevant; 403; subject to MILs on                none
                                                                 (c) allegations and (c)s not owned
                                       10                        by P10; lacks foundation; vague;
                                       11                        argumentative
                                       12
F ENWICK & W ES T LLP




                                                 95:17-23        irrelevant; 403; subject to MILs on                none
                        LAW




                                       13                        (c) allegations and (c)s not owned
                         AT
                        ATTO RNEY S




                                       14                        by P10; lacks foundation; vague;
                                                                 calls for speculation
                                       15
                                       16     101:16-102:10      irrelevant; 403; subject to MILs on                none
                                       17                        (c) allegations and (c)s not owned
                                                                 by P10; lacks foundation; vague;
                                       18
                                                                 misstates testimony
                                       19
                                       20     105:22-106:16      irrelevant; 403; subject to MILs on      105:10-21; 106:17-19
                                                                 (c) allegations and (c)s not owned
                                       21
                                                                 by P10; lacks foundation; vague
                                       22
                                       23         121:2-6        irrelevant; 403; subject to MILs on                none
                                       24                        (c) allegations and (c)s not owned
                                                                 by P10; lacks foundation; vague;
                                       25                        calls for legal conclusion
                                       26
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                                                                         Molter, Philip (3/20/2014)
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                                                Plaintiffs’           Defendants’ Objection                Defendants’ Counter-
                                        4      Designation                                                     Designation
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                                        6     122:25-127:10      irrelevant; 403; subject to MILs on                  none
                                                                 (c) allegations and (c)s not owned
                                        7                        by P10; lacks foundation; vague;
                                        8                        argumentative; (123:14-18)
                                                                 misstates testimony; (124:19-
                                        9                        124:3) calls for legal conclusion;
                                       10                        (125-20-126:1) incomplete
                                                                 hypothetical; (126:12-22) asked
                                       11                        and answered
                                       12
F ENWICK & W ES T LLP




                                                 129:6-14        irrelevant; 403; subject to MILs on        129:15; 129:16-130:5;
                        LAW




                                       13
                         AT




                                                                 (c) allegations; calls for privileged            130:6-10
                        ATTO RNEY S




                                       14                        information
                                       15
                                       16       130:11-20        irrelevant; 403; subject to MILs on                  none
                                                                 (c) allegations; lacks foundation;
                                       17                        vague; argumentative
                                       18
                                       19        131:5-13        irrelevant; 403; subject to MIL on                   none
                                                                 (c) allegations; lacks foundation;
                                       20
                                                                 vague; argumentative
                                       21
                                       22     131:24-132:17      irrelevant; 403; subject to MILs on        132:18-19; 132:22-24
                                                                 (c) allegations and (c)s not owned
                                       23
                                                                 by P10; lacks foundation; vague
                                       24
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                                                Plaintiffs’           Defendants’ Objection              Defendants’ Counter-
                                        4      Designation                                                   Designation
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                                        6     135:13-142:24      irrelevant; 403; subject to MILs on                none
                                                                 (c) allegations; lacks foundation;
                                        7                        witness lacks personal knowledge;
                                        8                        vague; (136:15-20) argumentative;
                                                                 (136:21-137:3) argumentative,
                                        9                        calls for legal conclusion; assumes
                                       10                        facts not in evidence

                                       11
                                                 150:2-14        irrelevant; 403; subject to MILs on                none
                                       12                        (c) allegations and (c)s not owned
F ENWICK & W ES T LLP




                                                                 by P10; vague; argumentative
                        LAW




                                       13
                         AT
                        ATTO RNEY S




                                       14
                                              166:15-167:10      irrelevant; lacks foundation /                     none
                                       15                        assumes facts; vague
                                       16
                                       17     169:25-171:25      irrelevant; 403; subject to MILs on                none
                                                                 (c) allegations; lacks foundation;
                                       18
                                                                 witness lacks personal knowledge;
                                       19                        vague; argumentative, calls for
                                                                 expert opinion / legal conclusion;
                                       20
                                                                 (170:11-18) misstates testimony;
                                       21                        (171:11-18) incomplete
                                                                 hypothetical; calls for speculation
                                       22
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                                                                         Molter, Philip (3/20/2014)
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                                                Plaintiffs’           Defendants’ Objection              Defendants’ Counter-
                                        4      Designation                                                   Designation
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                                        6      173:23-177:4      irrelevant; 403; subject to MILs on                none
                                                                 (c) allegations; lacks foundation;
                                        7                        witness lacks personal knowledge;
                                        8                        vague; argumentative; (174:25-
                                                                 175:12) misstates testimony; calls
                                        9                        for speculation; lacks foundation;
                                       10                        (175:13-20) misstates testimony;
                                                                 calls for speculation; lacks
                                       11                        foundation; (175:21-176:10)
                                       12                        misstates testimony; calls for
F ENWICK & W ES T LLP




                                                                 speculation; lacks foundation
                        LAW




                                       13
                         AT
                        ATTO RNEY S




                                       14      193:5-195:10      irrelevant; 403; subject to MILs on                none
                                       15                        (c) allegations and (c)s not owned
                                                                 by Perfect 10; lacks foundation;
                                       16                        witness lacks personal knowledge;
                                       17                        vague; (193:23-194:13) asked and
                                                                 answered; argumentative; (194:5-
                                       18                        13) argumentative; (194:14-195:2)
                                       19                        argumentative; (195:3-10) calls for
                                                                 speculation
                                       20
                                       21      201:21-202.3      irrelevant; 403; subject to MILs on                none
                                       22                        (c) allegations and (c)s not owned
                                                                 by Perfect 10; lacks foundation;
                                       23
                                                                 witness lacks personal knowledge;
                                       24                        vague; argumentative; asked and
                                                                 answered
                                       25
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                                                                         Molter, Philip (3/20/2014)
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                                                Plaintiffs’           Defendants’ Objection             Defendants’ Counter-
                                        4      Designation                                                  Designation
                                        5
                                        6       203:16-23        irrelevant; 403; subject to MILs on          203:24-204:1
                                                                 (c) allegations and (c)s not owned
                                        7                        by P10; lacks foundation / assumes
                                        8                        facts not in evidence; vague;
                                                                 argumentative; calls for legal
                                        9                        conclusion; incomplete designation
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F ENWICK & W ES T LLP
                        LAW




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                         AT
                        ATTO RNEY S




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                                                 Plaintiffs’           Defendants’ Objection            Defendants’ Counter-
                                        4       Designation                                                 Designation
                                        5
                                        6         37:9-23         irrelevant; 403                         36:20-22; 37:3; 37:4;
                                                                                                              37:6-8; 38:1
                                        7
                                        8         48:3-16         irrelevant; 403; subject to MILs on              none
                                        9                         (c) allegations and (c)s not owned
                                                                  by P10; lacks foundation; vague;
                                       10                         argumentative; calls for legal
                                       11                         conclusion
                                       12
F ENWICK & W ES T LLP




                                                  67:5-12         irrelevant; 403; subject to MILs on              none
                        LAW




                                       13                         child pornography, (c) allegations
                         AT
                        ATTO RNEY S




                                       14                         and (c)s not owned by P10; lacks
                                                                  foundation /assumes facts not in
                                       15                         evidence; vague
                                       16
                                       17        117:12-29        irrelevant; 403; subject to MILs on              none
                                                                  (c) allegations and (c)s not owned
                                       18
                                                                  by Perfect 10; lacks foundation;
                                       19                         witness lacks personal knowledge;
                                                                  vague; argumentative; assumes
                                       20
                                                                  facts not in evidence
                                       21
                                       22        118:5-19         irrelevant; 403; subject to MILs on           118:21-22
                                                                  (c) allegations and (c)s not owned
                                       23
                                                                  by Perfect 10; lacks foundation;
                                       24                         witness lacks personal knowledge;
                                                                  vague; argumentative; assumes
                                       25
                                                                  facts not in evidence
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                                                                         Molter, Philip (3/21/2014)
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                                                 Plaintiffs’           Defendants’ Objection            Defendants’ Counter-
                                        4       Designation                                                 Designation
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                                        6      142:25-143:10      irrelevant; 403; subject to MILs on              none
                                                                  (c) allegations and (c)s not owned
                                        7                         by P10; lacks foundation; vague;
                                        8                         argumentative; asked and
                                                                  answered
                                        9
                                       10      145:13-146:3       irrelevant; 403; argumentative;                  none
                                       11                         lacks foundation; vague
                                       12
F ENWICK & W ES T LLP




                                               148:19-151:6       irrelevant; 403; subject to MILs on              none
                        LAW




                                       13                         (c) allegations and (c)s not owned
                         AT
                        ATTO RNEY S




                                       14                         by P10; lacks foundation; calls for
                                                                  privileged information
                                       15
                                       16      153:20-158:10      irrelevant; 403; subject to MILs on              none
                                       17                         (c) allegations and (c)s not owned
                                                                  by Perfect 10; lacks foundation;
                                       18
                                                                  witness lacks personal knowledge;
                                       19                         vague; argumentative; assumes
                                                                  facts not in evidence; calls for
                                       20
                                                                  privileged information
                                       21
                                       22      161:11-162:2       irrelevant; 403; subject to MILs on              none
                                                                  (c) allegations and (c)s not owned
                                       23
                                                                  by P10; lacks foundation; vague;
                                       24                         argumentative
                                       25
                                       26        165:17-23        irrelevant; 403; subject to MILs on              none
                                                                  (c) allegations and (c)s not owned
                                       27                         by P10; lacks foundation; vague
                                       28
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                                        1 Dated: February 8, 2019                 FENWICK & WEST LLP
                                        2
                                        3                                         By: /s/ Todd R. Gregorian
                                                                                     Todd R. Gregorian
                                        4
                                                                                  Attorneys for Plaintiffs/Judgment Creditors
                                        5                                         GIGANEWS, INC., and LIVEWIRE
                                                                                  SERVICES, INC.
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F ENWICK & W ES T LLP
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